 Case: 4:20-cr-00135-SRC Doc. #: 19 Filed: 05/19/20 Page: 1 of 3 PageID #: 34




                                LINITED STATES DISTRICT             URT
                                EASTERN DISTRICT OF                 URI
                                       EASTERN DIVISION

 LINITED STATES OF AMERICA,                           )
                                                      )
     Plaintiff.                                       )
                                                      )
 v
                                                      )    No.4           -135 SRC
 LAWRENCE ARNOWTZ,                                    )
                                                      )
     Defendant.                                       )
                                                      )


                                                                N


          Come-now the parties, defendant Lalvrcnce Arnowitz,                    by defense counsel

Patrick Conroy, and the United States of America,                   by the Office of the United States


Attorney for the Eastern District of Missowi, through Hal                    Assistant United States

Attorney, and notiff the Court that: (1) the parties have            a   guilty plea agreement. (2) the

parties   jointly move to schedule the case for consolidated        and sentencing hearing; and (3)


under Federal Rule of Criminal Procedure 32(eX1), the                     consents to the preparation and


pre-plea disclosure of the Presentence Investigation Repon.

          In support of the motion, the parties state as follows:

          1.      The parties have reached a guilty plea              which resolves all charges

pending against defendant. Defendant is prepared to plead                Pusuant to the written

agreement which is being furnished to the United States Pro               offlrce via electronic mail to


MOEPmI-P SRSUSPO@moep.uscourts. gov simultaneously                       this pleading.
  Case: 4:20-cr-00135-SRC Doc. #: 19 Filed: 05/19/20 Page: 2 of 3 PageID #: 35



           2.   The parties ask the Court to schedule a                     plea and sentencing hearing

no earlier than 90 days from the date the Court grants this    j      rnotion.

           3.   The defendant asks the Court to direct the U           States Probation Office to

prepare a presentence report under Fed. R. Crim. P. 32(d).            defendant has discussed with

counsel the fact that under Fed. R. Crim. P. 32(e)(1), the                  offrce may not submit the

presentence report to the Court or anyone else until after the                   has pleaded guilty, unless


the defendant has consented to early disclosure in writing            defendant consents and asks the

Court to allo,v the probation office to disclose the report to        Court and the parties no later than

35 days prior to sentencing.

       4.       Following disclosure of the presentence                      report, the parties   will

submit objections within l4 days. The final presentence                          report will be filed at

least 7 days prior to sentencing. The confidential sentencing                           from United States

Probation Office   will   be submitted at least 7 days prior to the                  plea and sentencing

hearing.

           5.   The defendant agrees that the Court may make          hnding that the ends ofjustice

served by the delay in setting the consolidated hearing                the best interests of the public


and the defendant in a speedy     trial under l8 U.S.C. $ 3 161       XA), (hX7)(BXi) and

(hXTXBXiv), and that the Court may exclude the time                   the   filing of this motion and the

date of the consolidated hearing from the Speedy Trial




                                                     2
  Case: 4:20-cr-00135-SRC Doc. #: 19 Filed: 05/19/20 Page: 3 of 3 PageID #: 36




                                           HAL
                                           Assistant    States Attorney




      Date                                 LA


*t57*,tlP
      ohte                                 PA
                                           Attomey




                                       3
